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                           UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

Ronaldo Ligons, et al.,                           Civil File No. 15-CV-2210 (PJS/BRT)

       Plaintiffs,

vs.                                                          [PROPOSED] ORDER
                                                         GRANTING DEFENDANTS’
Minnesota Department of Corrections, et al.,              MOTION FOR SUMMARY
                                                                    JUDGMENT
       Defendants.

       The above-entitled matter came on for hearing on June 27, 2018, before

Judge Patrick J. Schiltz on Defendants’ motion for summary judgment (Doc. 219).

Assistant Attorneys General Kathryn A. Fodness, Andrew Tweeten, and Kelly S. Kemp

appeared on behalf of Defendants Minnesota Department of Corrections, Commissioner

Tom Roy, Dr. David A. Paulson and Nanette Larson, in their official capacities.

_______________________ appeared on behalf of Plaintiffs Ronaldo Ligons, Lawrence

Maxcy, Brent Buchan, and Barry Michaelson.

       Based upon Defendants’ motion, the arguments of the parties and all of the files,

records, and proceedings herein, and the Court being duly advised:

       IT IS HEREBY ORDERED:

       1.     Defendants’ motion for summary judgment (Doc. 219) is GRANTED; and

       2.     The Third Amended Complaint (Doc. 205) is DISMISSED with

              prejudice.
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LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated:____________                __________________________________
                                  PATRICK J. SCHILTZ
                                  United States District Court Judge




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